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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
 JASON C. CALLICOTTE, et al,                    §      CIVIL ACTION NO. 4:20-cv-1369
 (SPN 01401470)                                 §
                Plaintiffs,                     §
                                                §
                                                §
                  vs.                           §      JUDGE CHARLES ESKRIDGE
                                                §
 ED GONZALEZ, et al,                            §
             Defendants.                        §


             PLAINTIFFS’ AGREED MOTION FOR EXPEDITED MEDIATION
       Plaintiffs respectfully file this agreed motion requesting expedited mediation before a

federal magistrate between Plaintiffs and Harris County. Plaintiffs and Harris County are available

to conduct such a mediation on any of the following dates: July 21-24, July 27-28, August 3-14,

and August 24-28.

                                                                          Respectfully submitted,
                                                                 By: /s/ William Pieratt Demond
                                                                         William Pieratt Demond
                                                                              Attorney-in-Charge
                                                                        Texas Bar No. 24058931
                                                                   So. Dist. Texas No. 1108750
                                                                Email: william@demondlaw.com
                                                                             DEMOND LAW, PLLC
                                                                              1520 Rutland Street
                                                                            Houston, Texas 77008
                                                                               Tel: 713.701.5240
                                                                               Fax: 713.588.8407
                                                                 ATTORNEY FOR PLAINTIFFS




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                            CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with Harris County’s counsel concerning the foregoing
motion and that Harris County agrees therewith.

                                                                     /s/ William Pieratt Demond
                                                                        William Pieratt Demond



                               CERTIFICATE OF SERVICE


      I hereby certify that a true and correct copy of the foregoing document has been served
upon Harris County’s counsel via email.


                                                                     /s/ William Pieratt Demond
                                                                        William Pieratt Demond




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